
95 N.Y.2d 956 (2000)
In the Matter of the Estate of NICHOLAS MARSH, Also Known as NICHOLAS V. MARSH, Deceased.
ADRIENNE M. LEFKOWITZ, Appellant; CLAUDIA M. APPELBAUM et al., Respondents.
BANK OF NEW YORK, Objectant-Respondent.
SCHULTE, ROTH &amp; ZABEL, et al., Respondents.
Court of Appeals of the State of New York.
Submitted December 11, 2000.
Decided December 21, 2000.
Appeal, insofar as taken from the Appellate Division order denying appellant's motion to enlarge the record, and the Appellate Division order denying appellant's motions for reargument and leave to appeal to the Court of Appeals, dismissed, without costs, by the Court of Appeals, sua sponte, upon the ground that such orders do not finally determine the proceeding within the meaning of the Constitution; appeal otherwise dismissed, without costs, by the Court of Appeals, sua sponte, upon the ground that no substantial constitutional question is directly involved.
